IN THE UNITED STATES FEDERAL DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE

 

 

ALYSIA BIGGE, )
Plaintiff, §
vs. § Case No.
EDDIE EANES and §
BUCK WILD SALOON, LLC, ) JURY DEMAND
Defendants. §
COMPLAINT

 

Plaintiff Alysia Bigge, by and through counsel, files this Complaint against Defendants

Eddie Eanes and Buck Wild Saloon, LLC showing the Court as follows:

NATURE OF THE ACTION

This is a disturbing case of sexual harassment, by the owner of Buck Wild Saloon, LLC.
The Plaintiff in this case is Alysia Bigge, a former employee of Buck Wild Saloon, LLC. Ms.
Bigge was sexually harassed and subjected to a sexually hostile work environment while
employed by Buck Wild Saloon, LLC. Among other things, Mr. Eanes attempted to place his
head between Ms. Bigge’s breasts, and when she refused his advances, he ripped her shorts to
the waistline and fired her. The conduct of Eddie Eanes and Buck Wild Saloon has been a
blatant violation of the law. Ms. Bigge brings this Complaint to request the compensation she is

owed for this discriminatory conduct.

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l. Alysia Bigge (“Bigge”) was a resident of Nashville, Tennessee at the time the
incidents alleged herein occurred. Following the occurrence of these incidents, Bigge has
relocated to 5627 Bigge Lane, Evansville, Indiana 47122.

2. Eddie Eanes (“Eanes”) is a resident of Davidson County, Tennessee with a last
known address of 131 Second Avenue North, Nashville, Tennessee 37201.

3. Buck Wild Saloon, LLC (“Buck Wild Saloon”) is a limited liability company with
its principal place of business located at 131 Second Avenue North, Nashville, Tennessee 37201.
Buck Wild Saloon’s registered agent for service of process is Eddie Ray Eanes located at 131
Second Avenue North, Nashville, Tennessee 37201.

JURISDICTION AND VENUE

4. This Court has jurisdiction over this matter pursuant to Title VII of the Civil
Rights Act of 1964 42 U.S.C. § 2000e-5 and 28 U.S.C. § 1331.

5. Venue is proper with this District and this Division pursuant to 28 § U.S.C 1391

as the unlawful employment practices were committed in Davidson County, Tennessee.

FACTUAL ALLEGATIONS
6. Bigge was hired by Buck Wild Saloon in August 2009 as a karaoke host. From
time to time, Buck Wild Saloon’s owner and manager, Eanes would work in the bar with Bigge.
7. On October 5, 2009, Bigge began work for Buck Wild Saloon at 10:00 p.m.
8. Over the course of the evening, Eanes attempted to rip Bigge’s shorts. Bigge
realized what Eanes was trying to do and immediately told Eanes to stop.
9. Eanes attempted to place his head between Bigge’s breasts. Again, Bigge

immediately told Eanes to stop.

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10. Later in the same evening, while a customer was singing, but Eanes grabbed
Bigge’s shorts, ripping her shorts up to the waist line and exposing her body to customers Bigge
Was shocked and again told Eanes to stop.

ll. Each time Bigge told Eanes to stop, Eanes would tell Bigge he was “just having a
good time.”

12. At approximately 11:30 p.m. that night, right after ripping Bigge’s shorts, Eanes
told Bigge that she was fired because she was “fucking boring.” As Bigge was gathering her
personal belongings from Buck Wild Saloon, she told Eanes that she did not do anything wrong,
and Eanes responded to Bigge by saying, “So fucking sue me.”

13. Following her termination, Bigge filed a timely Charge of Discrimination with the
Equal Employment Opportunity Commission (“EEOC”) on or about March 29, 2010 alleging
discrimination based on sex and retaliation A copy of said Charge is attached hereto and
incorporated herein as Exhibit 1.

14. Bigge received a Notice of Right to Sue from the EEOC dated March 30, 2011. A
copy of the Right to Sue is attached hereto as Exhibit 2. This suit is filed Within ninety (90) days
of Bigge’s receipt of the Dismissal and Notice of Right to Sue from the EEOC.

15. As a direct and proximate result of the discrimination based on her sex and
retaliation for refusing to participate in Eanes’ advances, Bigge has suffered and will continue to
suffer mental anguish, lost wages, and other benefits from employment, past, present, and future.

CAUSES OF ACTION

Bigge incorporates into all following paragraphs the allegations contained above.

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COUNT ONE: SEXUAL HARASSMENT

16. Buck Wild Saloon is an employer as defined under 42 U.S.C. § 2000e(b). At all
times material hereto, Buck Wild Saloon was engaged in an industry affecting commerce, and it
also had fifteen or more employees for each working day in each of twenty or more calendar
weeks in 2009.

17. At all times material hereto, Bigge was qualified for the position of karaoke host
with Buck Wild Saloon.

18. Buck Wild Saloon violated Title VII of the Civil Rights Act of 1964, as amended,
by discriminating against Bigge on the basis of her sex. Bigge was subjected to unwelcome,
offensive, and harassing sexually discriminatory conduct during her employment with Buck
Wild Saloon, which was intentionally perpetrated upon her by her supervisor, Eanes. Eanes’
conduct was based upon and directed at Bigge because of her gender.

19. Buck Wild Saloon Was aware of the sexually harassing and discriminatory
conduct but failed to take any appropriate corrective action

20. This sexually harassing and discriminatory conduct was sufficiently severe and
pervasive so as to unreasonably interfere with Plaintiff’ s physical health, work performance, and
so as to create an intimidating, hostile, and offensive Working environment

21. Bigge was subjected to unwelcome sexual conduct from Eanes that was based on
Bigge’s sex. As a direct result of Bigge rejecting Eanes’ sexual advances towards her, Eanes
terminated Bigge’s employment with Buck Wild Saloon.

22. Eanes’ conduct was open and obvious to other employees, both management and

non-management at Buck Wild Saloon.

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23. As a direct and proximate result of Buck Wild Saloon’s actions as alleged herein,
Bigge is entitled to back pay, future wages, reinstatement, reinstatement of benefits, promotion,
an order requiring Buck Wild Saloon’s personnel records be corrected to reflect satisfactory
service by Bigge, compensatory damages, pre-judgment interest, punitive damages, attorney’s
fees and costs.

24. The actions of Buck Wild Saloon and Eanes, as set forth herein, were willful,
wanton, malicious, and done in reckless disregard for the safety and well-being of Bigge such as
to justify the imposition of punitive and liquidated damages.

COUNT TWO: RETALIATION

25. Buck Wild Saloon illegally retaliated against Bigge and terminated Bigge’s
employment for her refusal to permit Eanes’ sexual advances towards her.

26. As a direct and proximate result of Buck Wild Saloon’s willful, knowing, and
intentional retaliation against her, Bigge is entitled to back pay, future wages, reinstatement,
reinstatement of benefits, promotion, an order requiring Buck Wild Saloon’s personnel records
be corrected to reflect satisfactory service by Bigge, compensatory damages, pre-judgment
interest, punitive damages, attorney’s fees and costs.

27. The actions of Buck Wild Saloon and Eanes, as set forth herein, were willful,
wanton, malicious, and done in reckless disregard for the safety and well-being of Bigge such as

to justify the imposition of punitive and liquidated damages

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PRAYER FOR RELIEF

WHEREFORE, Bigge requests the following:

a) Back pay, including all sums of money Bigge would have earned, together with
such other increases to Which she would be entitled, had she not been discriminatorily
discharged;

b) An order requiring that all of the Buck Wild Saloon’s personnel records be
corrected to reflect satisfactory service by Plaintiff;

c) Front Pay;

d) Compensatory damages in an amount determined by the trier of fact to be fair and
reasonable;

e) Prejudgment interest;

f) Liquidated damages;

g) Punitive damages;

h) Award of reasonable attorney’s fees and costs; and

i) Such other and further relief as this Court deems just and equitable.

REOUEST FOR JURY TRIAL
Ms. Bigge hereby makes a demand for a trial by jury pursuant to Rule 38 of the Federal

Rules of Civil Procedure.

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Respectfully submitted,

\s\ Tara L. Swafford

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